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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                 ORLANDO DIVISION


JO ANN PARKER KELTY,

              Plaintiff,

v.                                                  Case No.6:10-CV-1910-ORL-35GJK

PENNCRO ASSOCIATES, INC.,

           Defendant.
___________________________________/



                       ORDER OF DISMISSAL WITH PREJUDICE

       Upon consideration of the Plaintiff’s Notice of Voluntary Dismissal with Prejudice

(Dkt. 7) and pursuant to Fed. R. Civ. P. 41, it is hereby

              ORDERED that this case is dismissed with prejudice. The parties have

resolved all claims, including claims for attorneys’ fees and court costs. The Clerk is

directed to CLOSE this case.

       DONE and ORDERED in Orlando, Florida, this 9th day of February 2011.




Copies furnished to:
Counsel of Record




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